              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 2:07-cr-00015-MR-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
     vs.                        )                      ORDER
                                )
JACKIE LEE VINSON,              )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court upon the Defendant’s letter, which

the Court construes as a motion for early termination of supervised release

[Doc. 23]. Both counsel for the Government and the Defendant’s supervising

probation officer have advised the Court that they do not oppose the

Defendant’s request.

      Upon review of the Defendant’s motion, and upon consultation with the

Defendant’s supervising probation officer, the Court is satisfied that the early

termination of the Defendant’s supervised release is warranted by the

Defendant’s conduct and is in the interest of justice.       See 18 U.S.C. §

3583(e)(1).




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     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

letter, which the Court construes as a motion for early termination of

supervised release [Doc. 23] is GRANTED, and the Defendant’s term of

supervised release is hereby terminated.

     The Clerk of Court is respectfully directed to provide a copy of this

Order to the Defendant, counsel for the Government, and the United States

Probation Office.

     IT IS SO ORDERED.
                                 Signed: January 12, 2021




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